                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


 UNITED STATES OF AMERICA                           )
                                                    )
 v.                                                 )   Criminal Case No. 3:22-cr-00282
                                                    )   JUDGE RICHARDSON
 [1] GLEN CASADA                                    )
 [2] CADE COTHREN                                   )



                                              ORDER

       Pending before the Court are “Defendant Cade Cothren’s Motion to Extend Deadlines as

to Rule 29 and Rule 33 Motions” (Doc. No. 358, “Cothren’s Motion”) and “Glen Casada’s

Amended Motion to Extend Deadlines to File Motions Pursuant to Fed. R. Crim. P. 29 and 33”

(Doc. No. 361, “Casada’s Motion”). Cothren’s Motion and Casada’s Motion each is GRANTED

IN PART and DENIED in part. That is, each of the Defendants is granted a substantial (albeit not

as substantial as Defendants requested) extension: (a) on the deadline to file either a document

requesting acquittal under Rule 29 on specific grounds or a notice that his Rule 29 motion remains

a general one; and (b) on the deadline to file a motion for new trial under Rule 33. More

specifically, these deadlines are extended for each Defendant to June 30, 2025.

       Notably, these filings may rely on the respective Defendants’ (or their attorneys’) good

faith belief as to what particular testimony is; such good-faith belief may, but does not necessarily

have to, be based on counsel consulting rough transcripts to see whether they support a belief as

to what particular testimony was. Rough transcripts should not be cited in any briefs, although it

is possible that eventually they could be consulted by the Court if it turns out that an asserted good-




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faith belief is challenged by the Government.



       IT IS SO ORDERED.



                                            ____________________________________
                                            ELI RICHARDSON
                                            UNITED STATES DISTRICT JUDGE




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